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     BELLEVUE UNIVERSITY
 9
10
                         UNITED STATES DISTRICT COURT
11
                        ESATERN DISTRICT OF CALIFORNIA
12
13
14 VERONICA CHAVEZ,                       Case No. 20-930

15                    Plaintiff,          NOTICE OF REMOVAL OF ACTION
16                                        PURSUANT TO 28 U.S.C. §§ 1332, 1441
               v.                         AND 1446 (DIVERSITY
17                                        JURISDICTION); DECLARATIONS
18 BELLEVUE UNIVERSITY, a                 OF LESTER F. APONTE, KENNETH
   Nebraska corporation; and DOES 1       BIRDSONG AND DIANE ARTHUR IN
19 THROUGH 20, inclusive,                 SUPPORT THEREOF
20
                      Defendants.
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            NOTICE OF REMOVAL OF ACTION (DIVERSITY JURISDICTION); DECLARATIONS
                 OF LESTER F. APONTE, KENNETH BIRDSONG AND DIANE ARTHUR
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 1         TO THE CLERK OF THE ABOVE-ENTITLED COURT AND TO
 2   PLAINTIFF VERONICA CHAVEZ AND HER ATTORNEYS OF RECORD
 3   FRANK E. MARCHETTI AND MARCHETTI LAW:
 4         PLEASE TAKE NOTICE that Defendant Bellevue University (“Defendant”
 5   or the “University”) hereby removes the above-entitled action from the Superior
 6   Court of the State of California for the County of Kern to the United States District
 7   Court for the Eastern District of California, pursuant to 28 U.S.C. §§ 1332, 1441,
 8   and 1446. In support of this Notice of Removal, Defendant alleges as follows:
 9
10                             I.     STATE COURT ACTION
11         1.      On October 7, 2020, Plaintiff Veronica Chavez (“Plaintiff”) filed a
12   complaint against the University in the Superior Court of the State of California,
13   County of Kern, entitled Veronica Chavez v. Bellevue University, a Nebraska
14   corporation; and Does 1 through 20, inclusive, which was designated as Case No.
15   BCV-20-102345-DRL (the “Action”). The Complaint alleges causes of action for:
16   (1) Disability Discrimination in Violation of FEHA; (2) Wrongful Termination in
17   Violation of Public Policy; (3) Failure to Engage in a Good Faith Interactive Process
18   in Violation of FEHA; (4) Failure to Pay Overtime Wages; (5) Waiting Time
19   Penalties (Labor Code §203); (6) Failure to Provide Accurate Wage Statements; (7)
20   Violation of Labor Code §558; and (8) Unfair Business Practices. A true and
21   correct copy of the Complaint is attached as Exhibit A to the Declaration of Lester
22   F. Aponte (“Aponte Decl.”)
23           II.     TIMELY REMOVAL OF STATE COURT COMPLAINT
24         2.      On October 19, 2020, Plaintiff served the Complaint, Summons, Civil
25   Cover Sheet, and a Notice of Assignment and Order to Show Cause re CRC 3110
26   and Case Management Conference on the University. True and correct copies of the
27   documents received by the University are attached as Exhibits B through D to the
28   Aponte Declaration.
                                                2
                NOTICE OF REMOVAL OF ACTION (DIVERSITY JURISDICTION); DECLARATIONS
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 1         3.      Exhibits A through D to the Aponte Declaration encompass all process,
 2   pleadings, and orders served on Defendant in the Action. In addition to the
 3   documents that were served on Defendant, the docket in the Action reflects that
 4   Plaintiff filed a Proof of Service, dated October 21, 2019. Defendant was not served
 5   with this document but obtained a copy through the Kern County Superior Court
 6   website. A true and correct copy is attached to the Aponte Declaration as Exhibit E.
 7         4.      Defendant filed an answer in state court on November 16, 2020. A true
 8   and correct copy of the answer filed in state court is attached to the Aponte
 9   Declaration as Exhibit F.
10         5.      This Notice of Removal is being filed within thirty (30) days of the date
11   Defendant first ascertained that the Action is removable, i.e., the date service on
12   Defendant became complete, and within one (1) year after the Action was filed.
13   Therefore, it is timely filed pursuant to 28 U.S.C. § 1446(b).
14                           III.   DIVERSITY JURISDICTION
15         A.      CITIZENSHIP
16         6.      The district courts of the United States have original jurisdiction over
17   the Action under 28 U.S.C. § 1332 based on diversity of citizenship jurisdiction.
18   The Action is properly removable because it is a civil action between citizens of
19   different states in which the amount in controversy exceeds the sum of $75,000,
20   exclusive of interest and costs, as set forth below.
21         7.      Defendant is informed and believes, and thereon alleges, that as of
22   October 7, 2020, when the Complaint was filed, and now, Plaintiff was a citizen and
23   resident of the State of California. The Complaint states that Plaintiff resides in
24   California. (Aponte Decl., Ex. A, ¶ 1.)
25         8.      The University is a private, non-profit university and is, and was at the
26   time the Action was filed, incorporated in the state of Nebraska. (Aponte Decl., Ex.
27   A, ¶ 2; Declaration of Kenneth Birdsong (“Birdsong Decl.”) ¶ 2 and Ex. H). Its
28   business activities are directed, controlled and coordinated from its executives
                                                3
                NOTICE OF REMOVAL OF ACTION (DIVERSITY JURISDICTION); DECLARATIONS
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 1   offices located on campus at 1000 Galvin Road South, Bellevue, Nebraska 68005.
 2   (Birdsong Decl. ¶ 3). For purposes of diversity jurisdiction, the citizenship of a
 3   corporation is both the state in which the corporation is incorporated and the state
 4   where it has its principal place of business. See Co-Efficient Energy Systems v.
 5   CSL Industries, Inc., 812 F.2d 556, 559-560 (9th Cir. 1987). Thus, because
 6   Defendant was and is incorporated in Nebraska and its principal place of business
 7   was and is in Nebraska, Defendant is a citizen of Nebraska.
 8         9.       The presence of unidentified Doe defendants in this case has no bearing
 9   on diversity with respect to removal. 28 U.S.C. § 1441(a) (“For purposes of
10   removal under this chapter, the citizenship of defendants sued under fictitious names
11   shall be disregarded.”); Fristoe v. Reynolds Metals Co., 615 F.2d 1209, 1213 (9th
12   Cir. 1980) (unnamed defendants are not required to join in a removal petition).
13   Accordingly, there is complete diversity of citizenship among all the parties.
14         B.       AMOUNT IN CONTROVERSY
15         10.      The amount in controversy between the parties exceeds the minimum
16   sum of $75,000, exclusive of interest and costs. In measuring the amount in
17   controversy for purposes of diversity jurisdiction, “a court must assume that the
18   allegations of the complaint are true and assume that a jury will return a verdict for
19   the plaintiff on all claims made in the complaint.” Kenneth Rothschild Trust v.
20   Morgan Stanley Dean Witter, 199 F. Supp. 2d 993, 1001 (C.D. Cal. 2002). In
21   addition, the Court should aggregate damages in determining whether the
22   controversy exceeds $75,000. See Bank of Cal. Nat’l Ass’n v. Twin Harbors
23   Lumber Co., 465 F.2d 489, 491 (9th Cir. 1972) (“aggregation is permitted when a
24   single plaintiff seeks to aggregate two or more of her own claims against a single
25   defendant.”)
26         11.      Here, Plaintiff’s allegations and the prayer for relief in the Complaint
27   confirm that she is seeking in excess of $75,000. Plaintiff seeks “compensatory,
28   consequential and incidental damages (including past and future lost wages,
                                                4
                NOTICE OF REMOVAL OF ACTION (DIVERSITY JURISDICTION); DECLARATIONS
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 1   bonuses, and other losses)” from the date of her separation of employment on July
 2   23, 2019, through trial. (Aponte Decl., Ex. A, Prayer for Relief.) Plaintiff’s yearly
 3   pay from her employment with the University, together with the value of her
 4   benefits, amount to approximately $49,834.80 per year. (Declaration of Diane
 5   Arthur ¶¶ 3-4 and Ex. I). Thus, her alleged lost compensation to date exceeds
 6   $60,000. Plaintiff further seeks to recover alleged unpaid overtime wages (Ex. A, ¶
 7   55), “penalties pursuant to Labor Code § 203 in an amount equal to 30 days, per
 8   diem wage rate” (Ex. A, ¶ 58) ($161.52 x 30 = $4,845.6), penalties for unpaid wages
 9   for herself and every other University employee who was allegedly underpaid “up to
10   a maximum of $4,000.00” per employee (Ex. A, ¶¶ 60, 65), and “disgorgement and
11   restitution of unpaid wages.” (Aponte Decl., Ex. A, ¶¶ 69-72.) These amounts, if
12   proven, would push Plaintiff’s alleged recovery for lost wages, benefits and
13   penalties in controversy above the $75,000 threshold. 1
14           12.     Although Defendant denies that it should be liable for any damages
15   whatsoever in this case, for purposes of assessing whether the amount in
16   controversy is satisfied, jury verdicts in discrimination cases in California are
17   instructive. These verdicts reflect that, were Plaintiff to prevail at trial on her
18   similar causes of action, her damages could exceed the $75,000 threshold. See, e.g.,
19   Siglin v. Carden Whittier School, Inc., 2012 WL 1798892 (L.A. County Sup. Ct.)
20   (award of $323,985 to employee who was terminated after returning from a medical
21   leave of absence); Polk v. Metropolitan Transp. Authority, 2012 WL 864463 (L.A.
22   County Sup. Ct.) (award of $250,000 to former employee where company failed to
23   engage in interactive process); Dickinson v. Allstate Insurance Co., 2011 WL
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       By estimating the amount Plaintiff potentially could recover if she prevails, Defendant does not
27   concede that Plaintiff will in fact prevail on any of her claims or that, if she prevails, she is entitled
     to damages in any particular amount, or at all. Defendant disputes Plaintiff’s claims with respect to
28   both liability and damages.
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                NOTICE OF REMOVAL OF ACTION (DIVERSITY JURISDICTION); DECLARATIONS
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 1   4048838 (Orange County Sup. Ct.) (award of $341,322 to employee in disability
 2   discrimination action).
 3         13.    In addition to lost compensation, Plaintiff seeks to recover “general
 4   damages, including mental pain and anguish and emotional distress.” (Aponte Decl.,
 5   Ex. A, Prayer for Relief). Emotional distress damages have value for purposes of
 6   determining the amount in controversy. See Kroske v. U.S. Bank Corp., 432 F. 3d
 7   976, 980 (9th Cir. 2005) (emotional distress damages of at least $25,000 considered
 8   in calculating amount in controversy); Luckett v. Delta Airlines, Inc., 171 F.3d 295,
 9   298 (5th Cir. 1999) (jurisdictional amount satisfied based on damage claims for pain
10   and suffering and humiliation). In fact, Plaintiffs who seek recovery for emotional
11   distress damages in employment litigation frequently have been awarded emotional
12   distress damages in excess of $75,000. See, e.g., Landis v. Pinkertons, Inc., 122 Cal.
13   App. 4th 985, 988 (2004) ($275,000 emotional distress damages awarded in
14   wrongful termination case).
15         14.    Plaintiff also seeks to recover punitive damages. (See Ex. A at ¶¶ 32,
16   41, 47 and Prayer for Relief.) “It is well established that punitive damages are part
17   of the amount in controversy in a civil action.” Gibson v. Chrysler Corp., 261 F.3d
18   927, 945 (9th Cir. 2001).
19         15.    Plaintiff seeks to recover attorney’s fees as provided per statute. (See
20   Ex. A at ¶¶ 33, 48, 56, 58, 66, 72, and Prayer for Relief.) See Galt G/S v. JSS
21   Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998) (“We hold that where an
22   underlying statute authorizes an award of attorneys’ fees, either with mandatory or
23   discretionary language, such fees may be included in the amount in controversy”);
24   See also Goldberg v. CPC Int’l, Inc., 678 F.2d 1365, 1367 (9th Cir. 1992) (holding
25   plaintiffs’ pro rata share of statutory attorneys’ fees included in jurisdictional
26   amount). Here, Plaintiff seeks attorneys’ fees under various statutes, including the
27   California Fair Employment & Housing Act (“FEHA”).
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              NOTICE OF REMOVAL OF ACTION (DIVERSITY JURISDICTION); DECLARATIONS
                   OF LESTER F. APONTE, KENNETH BIRDSONG AND DIANE ARTHUR
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 1         16.     Thus, based on the nature of Plaintiff’s allegations and the anticipated
 2   relief she will seek (including past lost employment earnings, emotional distress
 3   damages, punitive damages, and attorney’s fees), it is apparent that the amount in
 4   controversy exceeds $75,000. See White v. FCI USA, Inc., 319 F.3d 672, 674-76
 5   (affirming district court determination that it was facially apparent that the
 6   jurisdictional amount was satisfied based on a request for compensatory damages,
 7   punitive damages, and attorney’s fees). Courts have found the amount in
 8   controversy requirement satisfied when the plaintiff alleged multiple FEHA claims
 9   and sought similar types of damages. See, e.g., Simmons v. PCR Tech., 209 F.
10   Supp. 2d 1029, 1035 (N.D. Cal. 2002) (jurisdictional minimum “clearly satisfied”
11   when plaintiff asserting multiple FEHA claims sought unspecified compensatory,
12   punitive, and emotional distress damages as well as attorneys’ fees).
13               IV.   NOTICE TO PLAINTIFF AND SUPERIOR COURT
14         17.     This Notice of Removal has been given to both the adverse party and to
15   the state court pursuant to 28 U.S.C. § 1446(d). (Exhibit G to the Aponte Decl.)
16                                        V.     VENUE
17         18.     Venue is proper in this Court as this is the court for the district and
18   division embracing the place where the action is pending in state court. See 28
19   §1441(a); 28 U.S.C. § 84(b) (providing that the Eastern District of California
20   includes Kern County).
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              NOTICE OF REMOVAL OF ACTION (DIVERSITY JURISDICTION); DECLARATIONS
                   OF LESTER F. APONTE, KENNETH BIRDSONG AND DIANE ARTHUR
      Case 1:20-cv-01641-DAD-JLT Document 1 Filed 11/18/20 Page 8 of 64


 1         WHEREFORE, the University gives notice that the above action, which was
 2   pending in the Superior Court of the State of California, County of Kern, is removed
 3   to this Court.
 4
 5   DATED: November 18, 2020              YOUNG & ZINN LLP
 6
                                           By:
 7                                               LESTER F. APONTE
                                                 Attorneys for Defendant
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                                                 BELLEVUE UNIVERSITY
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              NOTICE OF REMOVAL OF ACTION (DIVERSITY JURISDICTION); DECLARATIONS
                   OF LESTER F. APONTE, KENNETH BIRDSONG AND DIANE ARTHUR
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 1                       DECLARATION OF LESTER F. APONTE
 2         I, LESTER F. APONTE, declare as follows:
 3         1.      I am Senior Counsel at the law firm of Young & Zinn LLP and am one
 4   of the attorneys representing Defendant Bellevue University (the “University”) in
 5   the above-captioned action filed by Plaintiff Veronica Chavez (“Plaintiff”). I have
 6   personal knowledge of the facts set forth in this Declaration, and if called to testify
 7   under oath, could and would testify competently thereto.
 8         2.      On October 7, 2020, Plaintiff Veronica Chavez (“Plaintiff”) filed a
 9   complaint against the University in the Superior Court of the State of California,
10   County of Kern, entitled Veronica Chavez, Plaintiff, v. Bellevue University, a
11   Nebraska corporation; and Does 1 through 20, inclusive which was designated as
12   Case No. BCV-20-102345-DRL (the “Action”). A true and correct copy of the
13   Complaint is attached hereto as Exhibit A.
14         3.      Plaintiff served the Complaint, along with the Summons, Civil Cover
15   and a Notice of Assignment and OSC re CRC 3110 and CMC on the University on
16   October 19, 2020. True and correct copy of the documents received by the
17   University are attached hereto as Exhibits B through D.
18         4.      In addition to the documents that were served on Defendant, the docket
19   in the Action reflects that Plaintiff filed a Proof of Service, dated October 21, 2019.
20   Defendant was not served with this document but obtained a copy through the Kern
21   County Superior Court website and a true and correct copy is attached as Exhibit E.
22         5.      Defendant filed an Answer in state court on November 16, 2020. A true
23   and correct copy of the Answer filed in state court is attached hereto as Exhibit F.
24         6.      A true and correct copy of Defendant’s Notice to Superior Court and to
25   Adverse Party of Removal of Action to Federal Court, is attached hereto as Exhibit
26   G.
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                NOTICE OF REMOVAL OF ACTION (DIVERSITY JURISDICTION); DECLARATIONS
                     OF LESTER F. APONTE, KENNETH BIRDSONG AND DIANE ARTHUR
     Case 1:20-cv-01641-DAD-JLT Document 1 Filed 11/18/20 Page 10 of 64


 1         7.      Exhibits A – G attached hereto, constitute all process, pleadings and
 2   orders served on, or by, Defendant in the Action.
 3
 4         I declare under penalty of perjury under the laws of the United States of
 5   America that the foregoing is true and correct.
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 7         Executed this 18th day of November, 2020, at Los Angeles, California.
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10                                                LESTER F. APONTE
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                NOTICE OF REMOVAL OF ACTION (DIVERSITY JURISDICTION); DECLARATIONS
                     OF LESTER F. APONTE, KENNETH BIRDSONG AND DIANE ARTHUR
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                         EXHIBIT D
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                                                Ý Øß Ê Û ÆÊ Í Þ Û Ô Ô Û Ê Ë Û Ë Ò ×Ê Û Î Í×Ì Ç ô ß Ò Û Þ Î ß ÍÕ ß Ý Ñ Î ÐÑ Î ß Ì ×Ñ Ò
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                                                                                                                                        Exhibit D, page 36
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                         EXHIBIT E
                                                                                                                                                         POS-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                           FOR COURT USE ONLY
    Frank E. Marchetti Case    1:20-cv-01641-DAD-JLT
                       | SBN: 203185                                              Document 1 Filed 11/18/20 Page 42 of 64
    Marchetti Law
    3600 Wilshire Blvd Suite 2036 Los Angeles, CA 90010
                                                                                                                        ELECTRONICALLY FILED
   TELEPHONE NO.: (626) 676-6377 | FAX NO. | E-MAIL ADDRESS (Optional): frank@marchettilaw.com                                10/21/2020 8:00 AM
    ATTORNEY FOR (Name): Plaintiff:
                                                                                                                      Kern County Superior Court
                                                                                                                        By Erika Delgado, Deputy
 Kern Court
          STREET ADDRESS:     1415 Truxtun Ave
           MAILING ADDRESS:

          CITY AND ZIP CODE: Bakersfield,   CA 93301
              BRANCH NAME:

         PLAINTIFF: Veronica Chavez                                                                             CASE NUMBER:


   DEFENDANT: Bellevue University; Et Al                                                                        BCV-20-102345

                                                                                                                Ref. No. or File No.:
                                       PROOF OF SERVICE OF SUMMONS

                                               (Separate proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:

    a.   P
         E Summons
    b.   P
         E Complaint
    c.   E    Alternative Dispute Resolution (ADR) package
    d.   P
         E    Civil Case Cover Sheet (served in complex cases only)
    e.   E    Cross-complaint
    f.   P
         E    other (specify documents): Notice of Case Management Conference; Notice of Order to Show Cause; Notice of
              Assignment to Judge for All Purposes
3. a. Party served (specify name of party as shown on documents served):
    Bellevue University, a Nebraska corporation

    b.   P
         E Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
              item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
          Phillip Morado - Authorized Agent
4. Address where the party was served: Cogency Global Inc. (Authorized Agent)
                                                       1325 J Street Suite 1550
                                                       Sacramento, CA 95814
5. I served the party (check proper box)
   a.    P
         Eby personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (date): 10/19/2020 (2) at (time): 1:19 PM

    b.    E   by substituted service. On (date): at (time): I left the documents listed in item 2 with or
              in the presence of (name and title or relationship to person indicated in item 3b):

              (1)   E   (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        person to be served. I informed him of her of the general nature of the papers.

              (2)   E   (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                        abode of the party. I informed him or her of the general nature of the papers.

              (3)   E   (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing address
                        of the person to be served, other than a United States Postal Service post office box. I informed him of her of the
                        general nature of the papers.

              (4)   E   I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                        place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                        (date): from (city):                                                 or     E
                                                                                                   a declaration of mailing is attached.

              (5)   E   I attach a declaration of diligence stating actions taken first to attempt personal service.



                                                                                                                                                          Page 1 of 2
Form Approved for Mandatory Use                                                                                            Code of Civil Procedure, § 417.10
Judicial Council of California                               PROOF OF SERVICE OF SUMMONS
POS-010 [Rev. January 1, 2007]                                                                                                                 POS010-1/625898

                                                                                                                                        Exhibit E, page 37
          PETITIONER: Case
                      Veronica 1:20-cv-01641-DAD-JLT
                               Chavez                                      Document 1 Filed 11/18/20 CASE
                                                                                                      PageNUMBER:
                                                                                                             43 of 64
                                                                                                                      BCV-20-102345
      RESPONDENT: Bellevue University; Et Al


     c.   E     by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                           (2) from (city):
                (3) E    with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                         (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4) E  to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.   E     by other means (specify means of service and authorizing code section):



           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.         as an individual defendant.
     b.         as the person sued under the fictitious name of (specify):
     c.         as occupant.
     d.   P On behalf of      (specify): Bellevue University, a Nebraska corporation
                under the following Code of Civil Procedure section:
                           P
                           E     416.10 (corporation)                          E   415.95 (business organization, form unknown)
                            E    416.20 (defunct corporation)                  E   416.60 (minor)
                            E    416.30 (joint stock company/association)      E   416.70 (ward or conservatee)
                            E    416.40 (association or partnership)           E   416.90 (authorized person)
                            E    416.50 (public entity)                        E   415.46 (occupant)
                                                                               E   other:

7. Person who served papers
   a. Name: Katrina Williams - By the Book Attorney Service
   b. Address: 3637 Glendon Ave. Suite 203 Los Angeles, CA 90034
   c. Telephone number: (818) 445-7448
   d. The fee for service was: $ 100.00
   e. I am:

          (1)   E not a registered California process server.
          (2)   E exempt from registration under Business and Professions Code section 22350(b).
          (3)   P
                E registered California processemployee
                                                 server:
                                                               P
                 (i) E owner              E                    E independent contractor.
                  (ii) Registration No.: 2015-10
                  (iii) County: Sacramento

8.   P
     E I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.   E     I am a California sheriff or marshal and I certify that the foregoing is true and correct.



                Date: 10/20/2020
                By the Book Attorney Service
                3637 Glendon Ave. Suite 203
                Los Angeles, CA 90034
                (818) 445-7448




                                Katrina Williams
                   (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)
                                                                                   '               Kato, Ai404-
POS-010 [Rev January 1, 2007]                                                                                                            Page 2 of 2
                                                       PROOF OF SERVICE OF SUMMONS
                                                                                                                                  POS-010/625898

                                                                                                                       Exhibit E, page 38
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                         EXHIBIT F
                                                              Case 1:20-cv-01641-DAD-JLT Document 1 Filed 11/18/20 Page 45 of 64


                                                                                                                            ELECTRONICALLY FILED
                                                          1   YOUNG & ZINN LLP                                                    11/16/2020 3:40 PM
                                                              PUNEET K. SANDHU (State Bar No. 254726)                     Kern County Superior Court
                                                          2   psandhu@yzllp.com                                           By Vanesa Jackson, Deputy
                                                              LESTER F. APONTE (State Bar No. 143692)
                                                          3
                                                              laponte@yzllp.com
                                                          4   1150 South Olive Street, Suite 1800
                                                              Los Angeles, California 90015
                                                          5   Telephone: (213) 362-1860
                                                              Facsimile: (213) 362-1861
                                                          6
                                                              Attorneys for Defendant
                                                          7
                                                              BELLEVUE UNIVERSITY
                                                          8

                                                          9                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                         10
                                                                                             FOR THE COUNTY OF KERN
                                                         11

                                                         12
                   1150 SOUTH OLIVE STREET, SUITE 1800
                      LOS ANGELES, CALIFORNIA 90015




                                                         13   VERONICA CHAVEZ,                          Case No. BCV-20-102345-DRL
YOUNG & ZINN LLP




                                                         14                     Plaintiff,              Assigned for all purposed to:
                                                         15                                             The Honorable David R. Lampe, Dept. 11
                                                                     v.
                                                         16                                             DEFENDANT BELLEVUE UNIVERSITY’S
                                                              BELLEVUE UNIVERSITY, a Nebraska           ANSWER TO PLAINTIFF VERONICA
                                                         17   corporation; and DOES 1 THROUGH 20,       CHAVEZ’S COMPLAINT FOR DAMAGES
                                                              inclusive,
                                                         18
                                                         19                     Defendants.             Action filed: October 7, 2020

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                                                                          DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES
                                                                                                                                  Exhibit F, page 39
                                                              Case 1:20-cv-01641-DAD-JLT Document 1 Filed 11/18/20 Page 46 of 64


                                                          1          TO PLAINTIFF VERONICA CHAVEZ AND HER ATTORNEY OF RECORD

                                                          2   FRANK E. MARCHETTI AND MARCHETTI LAW:

                                                          3          Defendant Bellevue University (“Defendant”) hereby answers Plaintiff Veronica Chavez’s

                                                          4   (“Plaintiff”) unverified Complaint (the “Complaint”), as follows:

                                                          5          1.      Pursuant to Section 431.30(d) of the California Code of Civil Procedure, Defendant

                                                          6   denies, generally and specifically, each and every allegation in the Complaint.

                                                          7          2.      Defendant further denies, generally and specifically, that Plaintiff is entitled to the

                                                          8   relief requested, or that Plaintiff has been or will be damaged in any amount, or at all, by reason of

                                                          9   any act or omission on the part of Defendant, or any of its present or former agents,

                                                         10   representatives, subsidiaries, and/or employees.

                                                         11

                                                         12          Defendant also pleads the following separate and affirmative defenses to the Complaint:
                   1150 SOUTH OLIVE STREET, SUITE 1800
                      LOS ANGELES, CALIFORNIA 90015




                                                         13                        FIRST SEPARATE AND AFFIRMATIVE DEFENSE
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                                                         14          1.      The Complaint, and each cause of action set forth therein, fails to state facts

                                                         15   sufficient to constitute a legally cognizable cause of action against Defendant.

                                                         16                      SECOND SEPARATE AND AFFIRMATIVE DEFENSE

                                                         17          2.      The Complaint, and each cause of action set forth therein, is barred by the

                                                         18   applicable statutes of limitations including, but not limited to, California Government Code

                                                         19   sections 12960(d) (amended 2020), 12960(e), and 12965(b), and California Civil Procedure Code

                                                         20   section 338.

                                                         21                       THIRD SEPARATE AND AFFIRMATIVE DEFENSE

                                                         22          3.      Plaintiff’s first and third causes of action are barred, in whole or in part, to the

                                                         23   extent that Plaintiff failed to exhaust her administrative remedies, the allegations in the Complaint

                                                         24   fall outside the scope of any administrative charges Plaintiff filed, and/or Plaintiff otherwise failed

                                                         25   to comply with the statutory prerequisites to the bringing of this action pursuant to the Fair

                                                         26   Employment and Housing Act (“FEHA”), California Government Code section 12900, et seq.

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                                                                              DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES
                                                                                                                                                Exhibit F, page 40
                                                              Case 1:20-cv-01641-DAD-JLT Document 1 Filed 11/18/20 Page 47 of 64


                                                          1                       FOURTH SEPARATE AND AFFIRMATIVE DEFENSE

                                                          2          4.       Plaintiff’s first and third causes of action are barred to the extent that the allegations

                                                          3   or claims in the Complaint are not substantially identical to claims included in the administrative

                                                          4   complaint(s) Plaintiff allegedly filed with the DFEH.

                                                          5                           FIFTH SEPARATE AND AFFIRMATIVE DEFENSE

                                                          6           5.      Plaintiff has waived any right to pursue the claims in the Complaint, and each cause

                                                          7   of action set forth therein, by reason of her own actions and course of conduct.

                                                          8                           SIXTH SEPARATE AND AFFIRMATIVE DEFENSE

                                                          9           6.      Plaintiff is estopped from pursuing the claims in the Complaint, and each cause of

                                                         10   action set forth therein, by reason of her own actions and course of conduct.

                                                         11                       SEVENTH SEPARATE AND AFFIRMATIVE DEFENSE

                                                         12           7.      The Complaint, and each cause of action set forth therein, is barred, in whole or in
                   1150 SOUTH OLIVE STREET, SUITE 1800
                      LOS ANGELES, CALIFORNIA 90015




                                                         13   part, by the doctrine of unclean hands.
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                                                         14                           EIGHTH SEPARATE AND AFFIRMATIVE DEFENSE

                                                         15           8.      The Complaint, and each cause of action set forth therein, is barred by the doctrine

                                                         16   of laches.

                                                         17                           NINTH SEPARATE AND AFFIRMATIVE DEFENSE

                                                         18           9.      The Complaint, and each cause of action set forth therein, is barred because

                                                         19   Defendant had good faith, non-discriminatory, non-pretextual reasons for all actions taken with

                                                         20   respect to Plaintiff.

                                                         21                           TENTH SEPARATE AND AFFIRMATIVE DEFENSE

                                                         22           10.     Defendant did not commit the acts or omissions as alleged in the Complaint on the

                                                         23   basis of Plaintiff’s disability or any other protected basis, but assuming, arguendo, it did, such acts

                                                         24   or omissions would have been taken in any event because all decisions made by Defendant with

                                                         25   respect to Plaintiff were based on good cause, constituting legitimate, business-related reasons that

                                                         26   were not arbitrary, capricious, unlawful, pretextual, or related to Plaintiff’s alleged protected

                                                         27   status(es).

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                                                                               DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES
                                                                                                                                                 Exhibit F, page 41
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                                                          1                    ELEVENTH SEPARATE AND AFFIRMATIVE DEFENSE

                                                          2          11.     The Complaint, and each cause of action therein, is barred, in whole or in part, by

                                                          3   the after-acquired evidence doctrine.

                                                          4                      TWELTH SEPARATE AND AFFIRMATIVE DEFENSE

                                                          5          12.     The Complaint, and each cause of action relating to Plaintiff’s alleged disability

                                                          6   therein, is barred because even with reasonable accommodations, Plaintiff was unable to perform

                                                          7   essential job duties without endangering her health or safety and/or the health or safety of others.

                                                          8                   THIRTEENTH SEPARATE AND AFFIRMATIVE DEFENSE

                                                          9          13.     The Complaint, and each purported cause of action relating to Plaintiff’s alleged

                                                         10   disability therein, is barred to the extent that accommodation of Plaintiff’s alleged disability would

                                                         11   have imposed an undue hardship on the operation of Defendant’s business.

                                                         12                   FOURTEENTH SEPARATE AND AFFIRMATIVE DEFENSE
                   1150 SOUTH OLIVE STREET, SUITE 1800
                      LOS ANGELES, CALIFORNIA 90015




                                                         13          14.     Plaintiff has failed to mitigate her damages, if in fact any damages have been or
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                                                         14   will be sustained, and any recovery by Plaintiff must be diminished or barred by reason thereof.

                                                         15                    FIFTEENTH SEPARATE AND AFFIRMATIVE DEFENSE

                                                         16          15.     Defendant alleges that, without conceding that there are any wages and/or monies

                                                         17   due, there exists a good faith dispute regarding the payment of wages and/or monies. Therefore,

                                                         18   penalties are not warranted.

                                                         19                    SIXTEENTH SEPARATE AND AFFIRMATIVE DEFENSE

                                                         20          16.     Plaintiff’s claims for additional compensation of any type fail as Plaintiff was not

                                                         21   entitled to payment of overtime premiums to the extent she was exempt from overtime

                                                         22   requirements pursuant to, but not limited to, the California Labor Code, the provisions of the

                                                         23   California Industrial Commission Wages Orders, and any and all of California’s overtime laws.

                                                         24                  SEVENTEENTH SEPARATE AND AFFIRMATIVE DEFENSE

                                                         25          17.     Plaintiff’s fourth through seventh causes of action are barred, in whole or in part,

                                                         26   on the grounds that Plaintiff is not entitled to general or other penalties under the California Labor

                                                         27   Code, including but not limited to, waiting time penalties under California Labor Code section

                                                         28   203.
                                                                                                         4
                                                                              DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES
                                                                                                                                              Exhibit F, page 42
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                                                          1                   EIGHTEENTH SEPARATE AND AFFIRMATIVE DEFENSE

                                                          2          18.     Defendant alleges that it compensated Plaintiff pursuant to a good faith belief and

                                                          3   with reasonable grounds to believe its actions did not violate the California Labor Code or an

                                                          4   Order of the Industrial Welfare Commission and, to the extent Plaintiff is entitled to additional

                                                          5   compensation, Defendant has not willfully or intentionally failed to pay any such additional

                                                          6   compensation the meaning and scope of California Labor Code section 203.

                                                          7                   NINETEENTH SEPARATE AND AFFIRMATIVE DEFENSE

                                                          8          19.     Plaintiff’s sixth cause of action is barred because even assuming, arguendo, that

                                                          9   Plaintiff was not provided with compliant wage statements, Defendant’s alleged failure to comply

                                                         10   with California Labor Code section 226(a) was not a “knowing and intentional failure” under

                                                         11   California Labor Code section 226(e).

                                                         12                    TWENTIETH SEPARATE AND AFFIRMATIVE DEFENSE
                   1150 SOUTH OLIVE STREET, SUITE 1800
                      LOS ANGELES, CALIFORNIA 90015




                                                         13           20.    Any and all claims by Plaintiff based in whole or in part upon any alleged physical
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                                                         14   or emotional injury or distress are barred to the extent that Plaintiff’s sole and exclusive remedy, if

                                                         15   any, for such injuries (except those resulting from illegal discrimination, of which there was none)

                                                         16   is governed by the California Workers’ Compensation Act and before the Workers’ Compensation

                                                         17   Appeals Board. California Labor Code §§ 3600 et seq.

                                                         18                  TWENTY-FIRST SEPARATE AND AFFIRMATIVE DEFENSE
                                                         19           21.    Plaintiff is barred from, and has waived, any recovery for any alleged physical or

                                                         20   emotional injury or distress (except injury resulting from illegal discrimination, of which there

                                                         21   was none), to the extent that she has failed to pursue and exhaust her remedies, if any, under the

                                                         22   California Workers’ Compensation Act. California Labor Code §§ 3600 et seq.

                                                         23                 TWENTY-SECOND SEPARATE AND AFFIRMATIVE DEFENSE

                                                         24           22.    Plaintiff is not entitled to recover punitive or exemplary damages herein, and any

                                                         25   allegations with respect thereto should be stricken, because Plaintiff has failed to plead facts

                                                         26   sufficient to support allegations of malice, oppression or fraud. California Civil Code § 3294(a).

                                                         27

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                                                                              DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES
                                                                                                                                              Exhibit F, page 43
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                                                          1                 TWENTY-THIRD SEPARATE AND AFFIRMATIVE DEFENSE

                                                          2           23.    Defendant is not liable for punitive or exemplary damages herein because no

                                                          3   officer, director or managing agent of Defendant: (a) committed, authorized or ratified any

                                                          4   alleged oppressive, willful, fraudulent, or malicious acts; (b) had any advance knowledge of the

                                                          5   unfitness of any employee who allegedly committed any such acts; or (c) employed any employee

                                                          6   who allegedly committed such acts with a conscious disregard for the rights or safety of others.

                                                          7   California Civil Code § 3294(b).

                                                          8                 TWENTY-FOURTH SEPARATE AND AFFIRMATIVE DEFENSE

                                                          9           24.    Defendant is not liable for punitive or exemplary damages herein because any

                                                         10   award of punitive or exemplary damages under California law in general, and/or any such award

                                                         11   under California law as applied to the facts in this case, would violate Defendant’s constitutional

                                                         12   rights under provisions of the United States and California Constitutions.
                   1150 SOUTH OLIVE STREET, SUITE 1800
                      LOS ANGELES, CALIFORNIA 90015




                                                         13
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                                                         14                                      ADDITIONAL DEFENSES

                                                         15          Defendant presently has insufficient knowledge or information upon which it can form a

                                                         16   belief as to whether it may have additional, as yet unknown and unstated, affirmative defenses.

                                                         17   Defendant thus reserves the right to amend its answer to assert such additional affirmative

                                                         18   defenses in the event that discovery indicates that additional affirmative defenses are appropriate.

                                                         19          WHEREFORE, Defendant prays for judgment as follows:

                                                         20          1.      That judgment be entered in favor of Defendant and against Plaintiff;

                                                         21          2.      That Plaintiff’s Complaint be dismissed in its entirety with prejudice and that

                                                         22   Plaintiff take nothing by her Complaint;

                                                         23          3.      That Defendant be awarded its reasonable attorneys’ fees and costs of suit herein;

                                                         24   and

                                                         25   //

                                                         26   //

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                                                                                                         6
                                                                              DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES
                                                                                                                                             Exhibit F, page 44
                                                              Case 1:20-cv-01641-DAD-JLT Document 1 Filed 11/18/20 Page 51 of 64


                                                          1        4.    For such other and further relief as the Court may deem just and proper.

                                                          2
                                                              DATED: November 16, 2020            YOUNG & ZINN LLP
                                                          3

                                                          4                                       By: /s/ Lester F. Aponte
                                                          5                                            LESTER F. APONTE
                                                                                                       Attorneys for Defendant
                                                          6                                            BELLEVUE UNIVERSITY

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                   1150 SOUTH OLIVE STREET, SUITE 1800
                      LOS ANGELES, CALIFORNIA 90015




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                                                                          DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES
                                                                                                                                       Exhibit F, page 45
                                                              Case 1:20-cv-01641-DAD-JLT Document 1 Filed 11/18/20 Page 52 of 64


                                                          1                                         PROOF OF SERVICE

                                                          2   STATE OF CALIFORNIA                   )
                                                                                                    ) ss
                                                          3   COUNTY OF LOS ANGELES                 )
                                                          4
                                                                     I am employed in the County of Los Angeles, State of California. I am over the age of 18
                                                          5   and not a party to the within action. My business address is 1150 S. Olive Street, Suite 1800,
                                                              Los Angeles, California 90015.
                                                          6
                                                                      On November 16, 2020, I caused to be served the foregoing documents described as
                                                          7   DEFENDANT BELLEVUE UNIVERSITY’S ANSWER TO PLAINTIFF VERONICA
                                                              CHAVEZ’S COMPLAINT FOR DAMAGES on the interested parties in this action by sending
                                                          8   a true copy thereof to:
                                                          9
                                                         10    Frank E. Marchetti, Esq.                           Representing Plaintiff
                                                               MARCHETTI LAW                                      VERONICA CHAVEZ
                                                         11    3731 Wilshire Blvd.
                                                               Suite 635
                                                         12    Los Angeles, CA 90010
                   1150 SOUTH OLIVE STREET, SUITE 1800




                                                               Tel.: (626) 676-6377
                      LOS ANGELES, CALIFORNIA 90015




                                                         13
                                                               Fax: (626) 628-3208
YOUNG & ZINN LLP




                                                         14    Email: frank@marchettilaw.com

                                                         15
                                                                      BY U.S. MAIL as follows: I am “readily familiar” with Young & Zinn LLP’s practice of
                                                         16   collection and processing correspondence for mailing. Under that practice it would be deposited
                                                              with the U.S. Postal Service on that same day with postage thereon fully prepaid at Los Angeles,
                                                         17
                                                              California, in the ordinary course of business. I am aware that on motion of party served, service
                                                         18   shall be presumed invalid if postal cancellation date or postage meter is more than one (1) day
                                                              after date of deposit for mailing in affidavit.
                                                         19
                                                                      BY ELECTRONIC SERVICE: I caused such documents to be transmitted to the
                                                         20   electronic mail addressee and the transmission was reported as complete and without error.
                                                                      I declare under penalty of perjury under the laws of the state of California that the above is
                                                         21
                                                              true and correct.
                                                         22          Executed on November 16, 2020, at Los Angeles, California.
                                                         23

                                                         24

                                                         25
                                                         26                                                   Patty Flores

                                                         27

                                                         28

                                                                                                       PROOF OF SERVICE
                                                                                                                                              Exhibit F, page 46
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                        EXHIBIT G
                                                              Case 1:20-cv-01641-DAD-JLT Document 1 Filed 11/18/20 Page 54 of 64


                                                          1   YOUNG & ZINN LLP
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                                                          4   1150 South Olive Street, Suite 1800
                                                              Los Angeles, California 90015
                                                          5   Telephone: (213) 362-1860
                                                              Facsimile: (213) 362-1861
                                                          6
                                                              Attorneys for Defendant
                                                          7
                                                              BELLEVUE UNIVERSITY
                                                          8

                                                          9                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                         10
                                                                                             FOR THE COUNTY OF KERN
                                                         11

                                                         12
                   1150 SOUTH OLIVE STREET, SUITE 1800
                      LOS ANGELES, CALIFORNIA 90015




                                                         13   VERONICA CHAVEZ,                          Case No. BCV-20-102345-DRL
YOUNG & ZINN LLP




                                                         14                     Plaintiff,              Assigned for all purposed to:
                                                         15                                             The Honorable David R. Lampe, Dept. 11
                                                                     v.
                                                         16
                                                              BELLEVUE UNIVERSITY, a Nebraska           NOTICE TO SUPERIOR COURT AND TO
                                                         17   corporation; and DOES 1 THROUGH 20,       ADVERSE PARTY OF REMOVAL OF
                                                              inclusive,                                ACTION TO FEDERAL COURT
                                                         18
                                                         19                     Defendants.

                                                         20
                                                                                                        Action filed: October 7, 2020
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                                                               NOTICE TO SUPERIOR COURT AND TO ADVERSE PARTY OF REMOVAL OF ACTION TO FED. COURT
                                                                                                                                  Exhibit G, page 47
                                                              Case 1:20-cv-01641-DAD-JLT Document 1 Filed 11/18/20 Page 55 of 64


                                                          1          TO PLAINTIFF VERONICA CHAVEZ AND HER ATTORNEY OF RECORD

                                                          2   FRANK E. MARCHETTI AND MARCHETTI LAW:

                                                          3          PLEASE TAKE NOTICE that on November 18, 2020, Defendant Bellevue University

                                                          4   filed in the United States District Court for the Central District of California its Notice of Removal

                                                          5   of Action Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446 (Diversity Jurisdiction) (the “Notice of

                                                          6   Removal”). A copy of the Notice of Removal is attached to this Notice as Exhibit 1.

                                                          7          PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1446, the filing of

                                                          8   said Notice of Removal in the United States District Court, together with the filing of this Notice

                                                          9   to Superior Court and Adverse Party, effects the removal of this action, and that this Court should

                                                         10   “proceed no further unless and until the case has been remanded.” 28 U.S.C § 1446(d).

                                                         11

                                                         12
                   1150 SOUTH OLIVE STREET, SUITE 1800




                                                              DATED: November 18, 2020                 YOUNG & ZINN LLP
                      LOS ANGELES, CALIFORNIA 90015




                                                         13
YOUNG & ZINN LLP




                                                         14                                            By: /s/ Lester F. Aponte
                                                         15                                                 LESTER F. APONTE
                                                                                                            Attorneys for Defendant
                                                         16                                                 BELLEVUE UNIVERSITY

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                                                               NOTICE TO SUPERIOR COURT AND TO ADVERSE PARTY OF REMOVAL OF ACTION TO FED. COURT
                                                                                                                                             Exhibit G, page 48
                                                              Case 1:20-cv-01641-DAD-JLT Document 1 Filed 11/18/20 Page 56 of 64


                                                          1                                         PROOF OF SERVICE

                                                          2   STATE OF CALIFORNIA                   )
                                                                                                    ) ss
                                                          3   COUNTY OF LOS ANGELES                 )
                                                          4
                                                                     I am employed in the County of Los Angeles, State of California. I am over the age of 18
                                                          5   and not a party to the within action. My electronic mail address is: pflores@yzllp.com. My
                                                              business address is 1150 S. Olive Street, Suite 1800, Los Angeles, California 90015.
                                                          6
                                                                      On November 18, 2020, I caused to be served the foregoing documents described as an
                                                          7   electronic version of NOTICE TO SUPERIOR COURT AND TO ADVERSE PARTY OF
                                                              REMOVAL OF ACTION TO FEDERAL COURT on the interested parties in this action by
                                                          8   sending a true copy thereof to:
                                                          9
                                                         10    Frank E. Marchetti, Esq.                           Representing Plaintiff
                                                               MARCHETTI LAW                                      VERONICA CHAVEZ
                                                         11    3731 Wilshire Blvd.
                                                               Suite 635
                                                         12    Los Angeles, CA 90010
                   1150 SOUTH OLIVE STREET, SUITE 1800




                                                               Tel.: (626) 676-6377
                      LOS ANGELES, CALIFORNIA 90015




                                                         13
                                                               Fax: (626) 628-3208
YOUNG & ZINN LLP




                                                         14    Email: frank@marchettilaw.com

                                                         15
                                                                      BY U.S. MAIL as follows: I am “readily familiar” with Young & Zinn LLP’s practice of
                                                         16   collection and processing correspondence for mailing. Under that practice it would be deposited
                                                              with the U.S. Postal Service on that same day with postage thereon fully prepaid at Los Angeles,
                                                         17
                                                              California, in the ordinary course of business. I am aware that on motion of party served, service
                                                         18   shall be presumed invalid if postal cancellation date or postage meter is more than one (1) day
                                                              after date of deposit for mailing in affidavit.
                                                         19
                                                                      BY ELECTRONIC SERVICE: I caused such documents to be transmitted to the
                                                         20   electronic mail addressee and the transmission was reported as complete and without error.
                                                                      I declare under penalty of perjury under the laws of the state of California that the above is
                                                         21
                                                              true and correct.
                                                         22          Executed on November 18, 2020, at Los Angeles, California.
                                                         23

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                                                                                                             wm, /acr\.(1
                                                         25
                                                         26
                                                                                                               ?1
                                                                                                              Patty Flores


                                                         27

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                                                                                                       PROOF OF SERVICE
                                                                                                                                              Exhibit G, page 49
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                         EXHIBIT H
         Case 1:20-cv-01641-DAD-JLT Document 1 Filed 11/18/20 Page 59 of 64
                  California Secretary of State
                                                                                     FILED
                  Electronic Filing                                                   Secretary of State
                                                                                      State of California



Corporation - Statement of Information
                                 Entity Name:       BELLEVUE UNIVERSITY


                       Entity (File) Number:        C3291733
                                       File Date:   04/23/2020
                                    Entity Type:    Corporation
                                    Jurisdiction:   NEBRASKA
                                 Document ID:       GF06813

Detailed Filing Information

1. Entity Name:                                          BELLEVUE UNIVERSITY


2. Business Addresses:
    a. Street Address of Principal
         Office in California:




    b. Mailing Address:                                  1000 Galvin Road South
                                                         Bellevue, Nebraska 68005
                                                         United States of America


    C.   Street Address of Principal
         Executive Office:                               1000 Galvin Road South
                                                         Bellevue, Nebraska 68005
                                                                                                             Document ID: GF06813

                                                         United States of America
3. Officers:

   a.    Chief Executive Officer:                        Mary Hawkins
                                                         1000 Galvin Road South
                                                         Bellevue, Nebraska 68005
                                                         United States of America
   b. Secretary:                                         Betsy Murphy
                                                         1000 Galvin Road South
                                                         Bellevue, Nebraska 68005
                                                         United States of America
            Use bizfile.sos.ca.gov for online filings, searches, business records, and resources.
                                                                                            Exhibit H, page 51
       Case 1:20-cv-01641-DAD-JLT Document 1 Filed 11/18/20 Page 60 of 64
                 California Secretary of State
                 Electronic Filing


Officers (cont'd):
    c. Chief Financial Officer:                          Matthew Davis
                                                         1000 Galvin Road South
                                                         Bellevue, Nebraska 68005
                                                         United States of America

4. Director:                                             Not Applicable



    Number of Vacancies on the Board of
    Directors:                                           Not Applicable

5. Agent for Service of Process:                         COGENCY GLOBAL INC. (C2003899)




6. Type of Business:                                     Not for profit University




    By signing this document, I certify that the information is true and correct and that I am authorized by
    California law to sign.




    Electronic Signature:   Matthew Davis

                                                                                                                  GF06813


            Use bizfile.sos.ca.gov for online filings, searches, business records, and resources.
                                                                                                                  Document ID:




                                                                                             Exhibit H, page 52
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                                    53
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                         EXHIBIT I
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                                                            Exhibit I, page
                                                            Exhibit I,      54
                                                                       page 54
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                                                            Exhibit I, page
                                                            Exhibit I,      55
                                                                       page 55
